                                                                              KS
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 1 of 24


                                                                                          Aug 19, 2021
                             UM TED STA TES DISTW C T CO U R T
                             SO U TH ER N DISTR IC T O F FL O R ID A
                21-20434-CR-MARTINEZ/BECERRA
                            CA SE N O .
                                         18U.S.C.j371
                                          8U.S.C.j1325(c)
                                          8U.S.C.j1324(a)(1)(A)(iv),(v)(II),and (B)(i)
                                         18U.S.C.j982(a)(6)


  U M TED STA TES O F AM ERIC A



  vu lltA sA x cltE z ,
  G Ex x u o m TO M M A S0 ,
  v Ax Elsl o som o R o o m G tm z ,
  M A SSIM ILLAx O DI x APo LI,
  EM lt,v I'ER E z ,
  FER NA N D O sIv 0 ,
  JM LEEN ooMlxùuEz,
  Au sslo su x o
  ELIZABETH PENkLVER,
  v lx c Exz o Lo po po tao ,and
  Lo I T O- EN TE,

         D efendants.
                                                      /

                                          IN DICTM EN T

         The Grand Jury chargesthat:

                                  GENERAL ALLEGATIONS
         Atalltim es m aterialto thisIndictm ent'
                                                .

                TheImmigrationandNationalityAct(1çlNA'')govem edtheimmigrationlawsof
  theU nited States.

                U.S.CitizenshipandImmigration Services(LGUSCIS'')wasanagencyoftheU.S.
  D epartm entofH om eland Seclzrity and w as charged with processing applications forim m igration

  benefkssuch aslawf'ulpermanentresidence.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 2 of 24




                 PursuanttotheINA,non-citizensoftheUnitedStates(çialiens'')werenotpermitted
  to pennanently reside in the U nited Statestm less they w ere law fulperm anentresidents.

                 PlzrsuanttotheINA,an alien couldimmediately adjusthis/herstatusto alawful
  permanentresident(IKLPR'')basedonamaniagetoaUnited Statescitizen.However,ifanalien
  married atlLPR,thealienhadtowaitaperiodoftimebeforeadjustinghis/herimmigrationstams.
                 Oneexceptiontothenormalwaittimesforadjusu entofstatusforatlalienmanied
  to a LPR wastheCuban AdjustmentAct(ç&CAA'').Generally,ptzrsuantto the CAA,a!lalien
  marriedto aCuban citizencouldimmediately adjusthis/herstatusto aLPR regardlessofhis/her
  cotmtry of citizensllip as long as the alien was married to the Cuban citizen atthe time ofthe

  adjustmentofstamsbyUSCIS.
                 USCIS Form 1-130 (lçpetition for Alien Relative'') d USCIS Torm 1-485
                                                                îs     pv%')) yjs ..
                                                                                       .



  (çWpplicationtoRegisterPermanentResidenceorAdjustStatt
                                                       zs''
                                                          )ll
                                                            sisfiledtoadjustthestatus
  ofa spouse orotherrelative. Theperson filing thepetition islcnown asthelEpetitioner''and the

  relativeon whosebehalfthepetition isfiled isknown astheçtBeneficiary.''OnceUSCIS approves

  anadjustmentapplicationforlawfulpermanentresidence,theagenoyissuesthealienaPermanent
  ResidentCardtFol= 1-551).ThePennanentResidentCardauthorizesthealientopermanently
  resideand lawfully work in theUnited States.

                 YAM IR A SANCHEZ,a residentof M iami-Dade County,was the owner of

  Im migration Consultantand Imm igration Corp.,a company thatpurported to help individuals

 properly prepareim migration applications,including USCIS Form 1-130.

         8.     Y A NEISI      O SO R IO    R O DR IG U EZ, EM ILY          PER EZ, JA IL EEN

 DOM INGUEZ,ELIZABETH PENALVER,LOITORRIENTE,Co-conspkator-l,and Co-
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 3 of 24



  Conspizator-z,were residents ofM inm i-Dade County and were either U.S.citizens or Lawful

  Perm anentResidentsoftheUnited States.

                 GENNARO DI TOM M ASO ,G SSIM ILLANO DI NAPOLI,FERNAND O

  SIVO,ALESSTO SARNO,W N CENZO LOPOPOLO,Co-conspirator-3,and Co-conspirator-

  4,wereresidentsofM inmi-D adeCotmty thatwereItalian citizens.

                                            CO UN T I
              Conspiracy to D efraud the U nited States and C om m itM arriage Fraud
                                         (18U.S.C.j371)
         1.      Paragraphs 1through 9 oftheGeneralAllegationssection ofthisIndictmentarere-

  alleged and incorporatedby referenceasthough fully setforthherein.

                 Begirming in orarotmd Apl'il2015,the exactdate being unknown to the Grand

  Jury, and continuing through on or about December 4,2018,in M iam i-Dade County,in the

  Southern DistrictofFlorida,and elsewhere,thedefendants,

                                      v xM lltx sAx c> z
                                 GExxwuom ToMMAko
                               vAxElslosomoRopmctiz,
                                 M A SSIm L LAN O o lN A POL I,
                                         lM lluv le It>:z ,
                                       Iœ ltx Ax o o sw o
                                    JMLEENDoMlxGtiz,
                                        A t,E sslo sw ltx 0 ,
                                   ELIZABETH PENALW R,
                                  vlx cEx z o Lo ro po tzo ,and
                                       LoITO- ENTE,

  didwillfully,thatis,withtheintenttofurthertheobjed oftheconspiracy,andknowinglycombine,
  conspire,corlfederate,and agree w ith each other and others,knom z and unknow n to the Grand

  Jury,to know ingly defraud the U nited States by im paidng,im peding,obstnzcting,and defeating

  through deceitful and dishonestm eans,the lawfulgovernm entfunctions of the United States

  Custom sand Imm igration Servicein itsadm inistration and oversightoftheimmigration lawsof

  the United States,and to com m itcertain offenses againstthe United States,thatis,to violate Title
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 4 of 24




  8,UnitedStatesCode,Section 1325(c),byknowinglyandwillfullyenteringintoman-iagesforthe
  purposeofevading aprovision ofthe im migration lawsoftheUnited States.

                               PU R PO SE O F TH E CO N SPIM CY

                Itwasthepurposeofthe conspiracy forthedefendantsandtheirco-conspiratorsto

  tmlawfully enrich them selvesby arranging false and fraudulentm arriagesbetween United States

  citizensandlawfulpermanentresidentsandaliensin return forpaym ent,and to obtain imm igration

  benefitsby interfering with and obstructing USCIS in itsadm inistration oftheimm igration laws

  oftheUrlited States.

                         M A M E R AN D M EAN S O F TH E CO N SPIM CY

         The m anner and m eans by w hich the defendants and their co-conspirators sought to

  accomplish thepurposeoftheconspiracy included,am ong otherthings,thefollowing:

         4.     YAM IR A SANCHEZ and otherco-conspiratorsrecnzited YANEISI O SORIO

  R O DR IG U EZ, EM ILY PER EZ, JM LEEN D O M IN G UEZ , ELIZAB ETH PEN A LV ER ,

  LO ITO R R TEN TE,and othersto enterinto falseand fraudulentm nniagesw ith Beneficiary aliens

  G ENN A R O D I TO M M A SO , M A SSIM ILLA N O D I N A PO LI, FERN A ND O SIV O ,

  A LE SSIO SA RN O ,V IN CEN Z O LO POPO L O ,and others.

         5.     Y A NE ISI    O SO R IO   R O DR IG U EZ, EM ILY        PER EZ, JA ILEE N

  D OM INGUEZ,ELIZABETH PENALVER,LOITORRIENTE,and othersentered intothese

  falseandfraudulentm aniagesin exchangeforpaym ent.

                G EN NA R O D I TO M M A SO ,M ASSIM ILLA N O D I NA PO LI,FER N AN D O

  SIV O ,A LESSIO SAR N O ,W N CEN ZO LO POPO L O ,and others entered into these false and

  fraudulentmarriagesinexchangeforeligibilitytoadjuststatus.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 5 of 24



                 YAM IRA SANCH EZ and co-conspiratorsprepared arld filed falseand fraudulent

  im migrationpaperwork,notarized them arriagelicenses,mem orializedthemaniages,soughtlegal

  status for the Beneficiary aliens in the United States and prepared both the etitioners and
                                                                     ctè rl-u: YJ; /* 7 -1'.% .
  Beneficiades for the interviews conducted by the United States Cu oms and Imm igration

  Services.

                                            O V ERT A C TS

         In furtherance ofthe conspiracy,and to accomplish thepurpose and objectthereof,the
  defendants and their co-conspirators comm itted and caused to be com mitted,in the Southern

  DistdctofFlorida,and elsewhere,atleastone ofthefollowing overtacts,among others:

         1.      ln orarotmd April2015,YAM IIRA SANCH EZ introduced Gçco-conspirator-l,''a

  Lawf'ulPerm anentResident,to Elco-conspirator-:
                                                3,''an alien,forthe purpose ofentering into a

  false and fraudulentm arriage.

                 On or aboutM ay 1,2015,Co-conspirator-l and Co-conspirator-3 entered into a

  falseand fraudulentm arriageto obtain legalstattzsforCo-conspirator-lwithoutcomplying with

  the im m igration law s ofthe U nited States.

                 On oraboutM ay 1,2015,YAM IRA SANCH EZ falselyandfraudulently notmized

  a Certitk ateofM arriagebetween Co-conspirator-land Co-conspirator-3.

                 On oraboutApril15,2016,YAM IR A SAN CH EZ introduced ttco-conspirator-

  2,''a Law fulPerm anentR esident,to KGco-conspirator-âln''an alien,forthepurpose ofentering into

  a false and fraudulentm aniage.

                 O n oraboutApril15,2016,Co-conspirator-z and Co-conspirator-4 entered into a

  false and fraudulentm aniage to obtain legalstattzsfor Co-conspirator-z w ithoutcom plying w ith

  the im m igration law softhe United States.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 6 of 24




         6.     On or about April 15, 2016, YAM IR A SANCHEZ falsely and fraudtllently

  notadzed aCertificate ofs4arriagebetween Co-conspirator-z and Co-conspirator-4.

                In or arolmd Septem ber2017,Co-conspirator-s introduced YANEISI OSORIO

  RODRIGUEZ,aLawfulPezm anentResident,to GENNAR O DITOM M ASO,an alien,fozthe

  purposeofentering into afalseand fraudulentmaniage.

         8.     On orabout Septem ber 27,2017,YANEISI O SOm O RODRIGUEZ accepted

  paym entin the approxim ate am otmtof$4,000 from Co-conspirator-s forentering into thefalse

  andfraudulentm arriage with GEM AR O DlTOM M ASO.

                 On or about Septem ber 28, 2017, Y A NEISI O SO RIO R O D R IG U EZ and

  G ENNARO DITOM M ASO entered into a false and fraudulentm nrriageto obtain legalstatus

  forDITOM M ASO withoutcom plying with theimm igration law softheUnited States.

         10.     On oraboutSeptember28,2017,YAM TRA SAN CTTEZ falsely and fraudulently

  notarized a Certificate ofM ardagebetween Yn Elsl O SO RIO R O DR IG U EZ and G EN NA R O

  D I TO M M A SO .

                ln or arotm d O ctober 2017, Co-conspirator-s introduced EM H ,Y PER EZ, a

  U nited States Citizen,to M A SSIM ILLA N O D I N A PO LI,an alien,for the purpose of entering

  into a false and fraudulentm azriage.

         12.     On or about N ovember 6, 2017, EM ILY PERF,Z accepted paym ent in the

  approxim ate amountof$4,000 from M ASSIM ILLANO DINAPOLIforentering into thefalse
  and â audulentm aniage.

         13.     On or aboutN ovem ber 6,2017,Co-conspirator-s introduced EM ILY PERE Z,a

  U nited Statescitizen,to Y AM IR A SA N CH E Z,forthepup oseofarranging a false and fraudulent

  m v iage betw een PER EZ and M A SSIY L LA N O D IN A POL I.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 7 of 24



         14.    On or aboutNovem ber 6,2017,EM ILY PEREZ and M ASSIM ILLANO DI

  NAPO LI entered into a false and fraudulentm aniage to obtain legalstatus forDI NAPOLI

  withoutcomplying with theim migration lawsoftheUnited States.

                On oraboutN ovember 6,2016,YAM IR A SANCHEZ falsely and fraudulently

  notarized a Certificate of M aniage betw een EM ILY PER EZ and M ASSIM ILLA N O DI

  N APO LI.

         16.    In or arotm d M arch 2018, Co-conspirator-s introduced JM LEEN

  DOM INGUEZ,a United States Citizen,to FERNAND O SIVO ,an alien,forthe purpose of

  entelinginto afalseand fraudulentmarriage.

         17.    On or aboutApril4,2018,JAILEEN DOM INGUEZ accepted paym entillthe

  approximate am ountof$2,000 9om Co-conspirator-s forentering into the falseand fraudulent
  m arriagewith FERNAND O SIVO.

         18. On           about April        2018, Co-conspirator-s inkoduced JAILEkN
  D O M IN G U EZ,a U nited States Citizen,to YA M IM   SAN CH EZ,forthe purpose of arranging

  afalseandfraudulentm arriagebetween DOM IN GUEZ and FERNANDO SIVO .

         19.    O n or about April4,2018,JAILEEN D O M IN G U EZ and FE RN AN D O SIV O

  entered into a false and fraudulentm arriage to obtain legalstatusforSIVO withoutcomplying

  with theim migration lawsoftheUnited States.

                On or about April 4, 2018, YAM IR A SANCHEZ falsely and fraudulently

  notarized aC ertificate ofM arriage between JA ILEEN D O M IN G UE Z and FERN A N D O SIV O .

                ln oraround Jtm e2018,Co-conspirator-s introduced ELIZA BETH PEN ALV ER ,

  a United States Citizen,to A'I,E SSIO SA RN O ,an alien,forthe purpose of entering into a false

  and fraudulentm aniage.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 8 of 24




         22.   On or about July 20, 2018, Co-conspirator-s introduced ELIZABETH

  PENAT,
       V ER,a Urlited StatesCitizen,to YAM IR A SANCHEZ,forthepurpose ofarranging a

  false and fraudulentm arriagebetween PENALVER andALESSIO SARN O.

               On or aboutJuly 20,2018,ELIZA BETH PEN ALV ER and AL ESSIO SA RN O

  entered into afalseandfraudulentm arriageto obtain legalstam sforSARNO withoutcom plying

  with theimm igration lawsoftheUnited States.

         24.   On or about July 20, 2018, YAM IR A SANCHEZ falsely and fraudulently

  notadzed a Certificate of M arriage be> een EL IZA BETH PEN AT,VER and AT,ESSIO

  SA R N O .

               On or aboutJuly 22,2018,E LIZM ETH PEN AL VER accepted paym entin the

  approxim ate amountof$4,000 from Co-conspirator-s for entering into the false and fraudulent
  maniagewith AI,ESSIO SARNO .

         26.   ln or arotm d A ugust 2018, Co-conspirator-s inkoduced LO l TO R R IEN TE ,a

 LawfulPerm anentResident,to W NCENZO LOPOPOLO,an alien,forthepurpose ofentering

  into afalseand fraudulentm aniage.

         27.   On or about September 16, 2018, Co-conspirator-s introduced LOI

  TORRTENTE,a Lawful Penuanent Resident,to YAM IM             SANCH EZ,for the purpose of

  arranging a false and fraudulent m arriage between TORRIENTE and W NCENZO

 LOPOPOLO .

               On or about Septem ber 16, 2018, L O I TO R RIEN TE and V IN CEN ZO

 LO PO PO LO entered into a false and fraudulentm arriage to obtain legalstatusforLO PO PO LO

 withoutcomplying with theim migration lawsoftheUnited States.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 9 of 24




         29.    On oraboutSeptem ber 16,2018,YAM IRA SANCH EZ falsely and fraudulently

  notarized a Certificate ofM aniage betw eentzo lT O RR TENTE and W N CEN ZO LO PO PO L O .

                On or about September 16,2018,LOl TORRIENTE accepted paym entin the

  approxim ate am otmtof $4,000 âom Co-conspirator-s forentering into the false and fraudulent
  m arriage with VINCEN ZO LOPOPOLO .

                On oraboutD ecember3,2018,Co-conspirator-4 instructed Co-conspirator-z to

  continue to falsely m aintain thattheir marriage waslegitim ate and notentered into falsely and

  gaudulently forthe purpose ofobtaining legalstatusforBeneficiary-z withoutcomplying with

  theimm igration lawsoftheUnited States.

         32.    O n oraboutD ecem ber4,2018,Y A M IR A SA N CH EZ instructed Co-conspirator-

  2to continueto falsely m aintain thattheirm arriagewaslegitimateand notenteredintofalsely and

  fraudulentlyforthepurposeofobtaininglegalsta'
                                              tusforCo-conspirator-4withoutcompl/ngwith
  the im m igration laws ofthe United States.

         A11in violation ofTitle 18,U nited StatesC ode,Section 371.

                                          C OU N TS 2.-6
                                         M arriage Fraud
                                        (8U.S.C.j1325(c))
                Paragraphs 1tllrough 9 ofthe G eneralA llegations section ofthisIndictm entare re-

  allegedandincorporatedby referenceasthough fully setforth herein.

                On oraboutthedatesspedfied asto each countbelow ,in M iam i-DadeCounty,in

 the Southem D istdct of Florida,and elsewhere,the defendants specified asto each cotmtbelow ,

 did knowingly and llnlawftzlly enterinto am arriageforthepurpose ofevading aprovision ofthe

  imm igration lawsoftheUnited States:
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 10 of 24




    C ount    Approxim ate D ate                              D efendants
                                                   G EN N AR O D I TO M M A SO and
      2       Septem ber28,2017                   YA N EISI O SO R IO R O DR IG UEZ
                                                  M A SSIM ILLM O D IN A PO LI and
      3       N ovem ber6,2017                             EM ILY PER EZ
                                                         FERN A ND O SIV O and
      4          A pril4,2018                           JM LEEN D O M IN G U EZ
                                                         M ZESSIO SAR N O and
      5          July 20,2018                           ELIZABETH PENALW R
                                                    V IN CEN Z O L O POPO L O and
      6       Septem ber 16,2018                          L O IT O RR IENT E


          In violation ofTitle8,United StatesCode,Section 1325(c),and Title 18,Urlited States
  Code,Section 2.

                                        C O IJN TS 7-11
               U nlaw fully Encouraging A n A lien To R eside In The U nited States
                            (8U.S.C.j1324(a)(1)(A)(iv),(v)(Il),and (B)(i))
                 Paragraphs 1through 9 ofthegeneralallegationssection ofthislndictm entarere-

  alleged and incop orated by reference as though fully setforth herein.

                 On oraboutthedatesspeci/ed asto each countbelow,in M inmi-Dade Cotmty,in

  the Southern DistdctofFlorida,and elsewhere,thedefendantsspecified asto each cotmtbelow,

  didlcnowingly encolzrage and induce an alien,asspecifiedbelow,to residein theUnited States,

  forthepurposeofpdvatefinancialgain,knowing andin recldessdisregrd ofthefactthatsuch

  residence is and w illbe in violation oflaw :

   C ount A pproxim ate D ate                        D efendants                         A lien
                                              YA M IM    SA N CH EZ                     G ennaro
             Septem ber28,2017                         and
                                       Y A N EISI O SO R IO R O DR IG U EZ            diTom m aso
                                              Y AM IR A SA N CH E Z                   M assim illano
      8      N ovem ber6,2017                          and
                                                 EM ILY PER EZ                          diN apoli
                                              Y AM IM SA N CH EZ
               April4,2018                          and                             Fernando Sivo
                                            JM LEEN D O M IN G U EZ

                                                   10
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 11 of 24



                                             YAM IM SANCHEZ
     10        July 20,2018                     . and                                Alessio Sat'
                                                                                                no
                                           ELIZABETH PENALVER
                                              YAM IR A SANCH EZ                        Vincenzo
            Septem ber 16,2018               andLOITORRIENTE                           Lopopolo

          In violation ofTitle 8,Urlited StatesCode,Section 1324(a)(1)(A)(iv),(v)(11),and (B)(i),
  and Title 18,Ullited StatesCode,Section 2.



                                 FO RFE ITU R E A LLE G A TIO N S

                 Theallegationsin thisIndictm entarehereby re-alleged and by thisreferenceftzlly

  incorporated herein forthepurpose ofalleging crim inalforfeitureto theUnited StatesofAmerica

  of certain property in which the defendants, YAM IRA SAN CHEZ, GENNARO DI

  TO M M ASO ,YA N EISI O SO R IO R OD R IG UEZ ,M ASSIM ILLA N O D I N A PO LI,EM LY

  PER EZ,FERN A ND O SW O ,JA ILE EN D O M IN G UE Z,A LESSIO SA R N O ,E LIZM ETH

  PENALVER,W NCENZO LOPOPOLO,and LOITORRIENTE,have an interest.

                 Upon convictionofaviolation ofTitle8,United StatesCode,Section 1324or1325,

  ora conspiracy to com m itsuch offense,as alleged in this Indictm ent,the defendants shallforfeit

  to theUrlited StatesofAm ericathefollowing:

                 any conveyance,including any vessel,vehicle,oraircraftused in the comm ission

                 ofsuch violation;and/or

             b) anyproperty,realorpersonal,
                        that constitutes,or is derived f'
                                                        rom or is traceable to the proceeds obtained

                        directly orindirectly from the com m ission ofsuch violation;and/or

                    ii. that was used to facilitate,or was intended to be used to facilitate,the
                        com m ission ofsuch violation.


                                                 11
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 12 of 24




           A1lpursuanttoTitle18,UnitedStatesCode,Section982(a)(6),andtheproceduressetforth
    in Title 21,U nited States Code,Section 853,as incorporated by Title 18,United States Code,

    Section982(b)(1).
                                                    A TRUE BILL



                                                    FOREPERSON
                                           %


    JUA AN TON IO     ZM EZ
    ACTING UN ITED STA TES A TTORN EY

          ..                 *



    W ILL J.ROSEN Z IG
    A SSISTAN T UN ITED STA TES ATTORN EY
  Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 13 of 24
                                           U NITED STATESDISTRIG COURT
                                           SOUTH ERN DISTRIG O FFLORD A

  X     TED STATES OF W       Y CA                    CASE NO.
   V.
   YAM IR A SAN CH EZ,etaI.,                          CER T M C A T E OF T R TAT,A TT O R N EY *
                                                      SupersedingCaseInform ation:
                Defendants.                 /
     CourtDivision:tselectOnel                        Newdefendantts) 1
                                                                      -1 Yes I--INo
    (Z Miami Z lleyWest Z FTL                         Numberofnewdefendants
    N WPB N FTP                                       Totalnumberofcounts
         1.1havecareftzlly consideredtheallegationsoftheindictment,thentunberofdefendants,thentunberofproG ble
           witnessesandthelegalcomplexitiesoftheIndictment/lpfonnation attachedhereto.
         2.1am awarethattheinform ation suppliedonthisstatementw illbereliedupon by theJudgesofthisCourtin
           setting theircalendarsand scheduling crim inaltrialsunderthem andateoftheSpeedy TrialAct,
           Title28 U .S.C.Section 3161.
         3.lnterpreter:(YesorNo) Yes
           Listlanguageand/ordialect Spanish and ltalian
        4.Thiscasewilltake 11-13 daysforthepartiestotry.
        5. Pleasecheck appropriatecategoryandtypeofoffenselistedbelow:
              (Checkonlyone)                             (Checkonlyone)
         I 0to5days             (71                 Petty             E71
         11 6to10days           r7                  Minor             EI
         1II 11to20days         nz                  Misdemeanor       E1
         IV 21to60days          E7I                 Felony            rz
         V 61daysandover        (71
        6.HastMscasepreviouslybeenfiledintMsDistrictCourt? (YesorNo) No
        ' Ifyes:Judge                                 CaseNo.
          (Attachcopyofdispositiveprder)
           Hasacomplaintbeenfiledinthismatter? (YesorNo) No
           lfyes:M agislrateCaseN o.
           Related m iscellaneousnum bers:
           Defendantts)infederalcustodyasof
           Defendantts)instatecustodyasof
           Rule20 from theDistrictof
           lsthisapotentialdeathpenaltycase?(YesorNo) No
        7. Doestlaiscase originatefrom am atterpending intheCentralRegion oftheU.S.Attorney'sOfficepriorto
           August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo) No
        8. Doesthiscase originatefrom am atterpendingin theN orthernRegionoftheU .S.Attorney'sOffice priorto
           August8,2014(M ag.JudgeShaniekM aynard?(YesorNo) No
        9. Doestlliscase originatefrom am atterpendingin theCentralRegion oftheU.S.Attorney'sOfficepriorto
           October3,2019(M ag.JudgeJaredStrauss)?(YesorNo) No


                                                                          p.                 %


                                                                  W illJ.Rosenzweig
                                                                  AssistantUnited StatesAttorney
                                                                  CourtID No.        A5502698
*penaltySheetts)attachd                                                                            REV 3/19/21
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 14 of 24




                            IJNITED STATESDISTRICT COURT
                           SO U TH ERN D ISTR ICT OF FL O R ID A

                                       PEN A LTY SHEET

  D efendant's N am e:Y am ira Sanchez

  C aseN o:

  Cotmt#:1

     Conspiracv to Com m itM nrriage Fraud

      18 U.S.C.i371                                                       '       '

  *M ax.Penalty:        5 years'imprisonment

  Cotmts#:7-11

    Unlaw fullv EncotlrazinM A n A lien To Reside In The United States

    8U.S.C.i1324(a)(1)(A)(iv).(v)(Il).and (B)(i)
  *M ax.Penalty:        10years'imprisonm ent




   WR efers only to possible term of incarceration,doesnotinclude possible fm es,resti- tion,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 15 of 24




                           UM TED STA TES DISTRIC T C O U R T
                           SO U TH ER N DISTRIC T O F FL OR ID A

                                      PEN A LTY SH EET

  D efendant'sN am e:G ennaro diTom m aso

  C ase N o:

  Cotmt#:1

     Conspiracv to Com m itM arriace Fraud

      18 U.S.C.; 371                                                                           .
  *M ax.Penalty:       5 years'imprisonm ent

  Cotmt#:2

    M arriaze Fraud

    8U.S.C.j1325(c)
  *M ax.Penalty:       5years'im pdsonment




   frR efersonly to possible term ofincarceration,does notinclude possible fines,restitutiom
             specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 16 of 24




                           UN ITED STA TES DISTR IC T C O U RT
                           SO U TH ER N DISTR IC T O F FLO R IDA

                                      PEN A LTY SH EET

  D efendant'sN am e:Y aneisiO sorio R odriauez

  C ase N o:

  Count#.
        .1

     Conspiracv to Com m itM aniace Fraud

      18 U.S.C.$ 371

  *M ax.Penalty:        5 years'imprisonm ent

  Colmt#:2

      M arriace Fraud

      8U .S.C.i 1325(c)
  *M ax.Penalty:        5 years'im prisonm ent

  Cotmt#:7

     Urllawfully Encouracing An Alien To ResideIn TheUnited States

     8U.S.C.k1324(a)(1)(A)(iv)s(v)(II)eand(B)(i)
  *M ax.Penalty:        10 years'im prisonm ent




   WR efersonly to possible term ofincarceration,doesnotinclude possible fm es,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 17 of 24




                            UN ITED STA TE S D ISTR ICT CO U R T
                            SO U TH ER N D ISTW CT OF FL O R ID A

                                       PEN ALTY SHEET

  D efendant's N am e: M assim illano diN apoli

  Case N o:

  Cotmt#:1

     Conspiracv to Com m itM nlmiaze Fraud

      18 U.S.C.i 371

  * M ax.Penalty:        5 years'im prisonm ent

  Cotmt#:3

     A4ardageFraud

     8U .S.C.j 1325(:)
  *M ax.Penalty:       5years'impdsonment




   WR efers only to possible term ofincarceration,does notinclude possible lnes,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 18 of 24




                              UNITED STATES DISTRICT COURT
                              SOUTH ERN DISTRICT OF FLORIDA

                                         PENM TY SH EET

  D efendant'sN am e:Em ily Perez

  Case N o:

  Count#:1

     Conspiracv to Com m itM arriage Fraud
                                                       '                      .
                                                   .


     18 U.S.C.i371

  *M ax.Penalty:           5 years'imprisonment

  Cotmt#:3

    M arriace Fraud

    8U.S.C.i1325(c)
  *M ax.Penalty:           5 yem'
                                s'im prisonm ent

  Collnt#:8

    Urllawfullv Encouraging An Alien To ResideIn The Urlited States

    8U.S.C.i 1324(a)(1)(A)(iv).(v)(II).and (B)(i)
  *M ax.Penalty:       .   10 years'im prisonm ent




   WR efers only to possible term ofincarceration,does notinclude possible Fm es,restio tion,
             specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 19 of 24




                           UNITED STATES DISTRICT COURT
                           SO U TH ER N DISTR IC T O F FLO R IDA

                                      PEN A LTY SH EET

  D efendant'sN am e: Fernando Sivo

  C ase N o:

  Cotm t#:1

     Conspiracv to Com m itM arriage Fraud



  *M ax.Penalty:       5years'im prisonment

  Cotmt#:4

     M arriace Fraud

     8U.S.C.i 1325(c)

  *M ax.Penalty:       5 years'im prisonm ent




   *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 20 of 24




                           U N IT ED STA TES DISTR IC T C O UR T
                           SO U TH ERN D ISTR IC T O F FLO R ID A

                                      PEN A LTY SH EET

  D efendant'sN am e:Jaileen D om inzuez

  C aseN o:

  Collnt#:1

     Conspiracy to Com m itM aniage Fraud



  *M ax.Penalty:       5years'impzisonment

  Count#:4

     M nniage Fraud

     8U.S.C.i1325(c)
  *M ax.Penalty:       5 years'im prisonm ent

  Cotmt#:9

    Unlawfullv Encouraging An Alien To Reside In TheUnited States

    8U.S.C.i1324(a)(1)(A)(iv).(v)(lI)sand(B)(i)
  *M ax.Penalty:       10 years'im pdsonm ent




   *R efers only to possible term ofincarceration,does notinclude possible fm es,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 21 of 24




                           UNITED STATES DISTRICT COURT
                           SO U TH ER N D ISTRIC T O F FLO R IDA

                                        PEN M TY SHEET

  D efendant's N am e: A lessio Sarno

  Case N o:

  Colmt#:1

     Conspiracv to Com m itM nrriace Fraud



  * M ax.Penalty:      5years'imprisonm ent                               .

  Count#:5

     M arriageFraud

     8U.S.C.5 1325(c)
  *M ax.Penalty:       5 years'im pdsonm ent




   *R efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 22 of 24




                           IJNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT OF FLORIDA

                                      PEN ALTY SH EET

  D efendant'sN am e:Elizabeth Penalver

  CaseN o:

  Count#:1

     Conspixacy to Com m itM arriace Fraud

     18U .S.C.i371

  *M ax.Penalty:       5years'im pdsonment

 Cotmt#:5

     M nniageFraud

     8U.S.C.5 1325(c)
  *M ax.Penalty:       5 years'im pdspnm ent

 Count#:10

    Unlawfully EncotlracincAn Alien To ResideIn 'rheUnited States

    8U.S.C.j 1324(a)(1)(A)(iv).(v)(II)sand(B)(i)
  *M ax.Penalty:       10 years'hnplisonm ent




   *R efers only to possible term ofincarceration,does notinclude possible fm es,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 23 of 24




                           UNITED STATES DISTRICT COURT
                           SOUTH ERN DISTRICT OF FLORIDA

                                     PEN A LTY SH EET

  D efendant's N am e: V incenzo Lopopolo

  Case N o:

  Count#:1

     Conspizacy to Com m itM aniace Fraud

     18U .S.C.k 371
  * M ax.Penalty:      5 years'im prisonm ent

  Cotmt#:6

     M almiaae Fraud

     8U.S.C.$ 1325(c)                                                          .
  *M ax.Penalty:       5 years'imprisonm ent




   WR efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures that m ay be applicable.
Case 1:21-cr-20434-JEM Document 1 Entered on FLSD Docket 08/20/2021 Page 24 of 24




                            UN TED STATESDISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                      PENALTY SHEET
  D efendant'sN am e:L oiTorriente

  C ase N o:                                                       .

  Cotmt#:1

      Conspiracy to Com m itM arriace Fraud

     18U.S.C.j371
  *M ax.Penalty:        5 years'im prisonment

  Count#:6

     M arriaceFraud

     8U.S.C.i1325(c)
  *V ax.Penalty:        5years'imprisonment
  Colmt#:11

    Unlawfully Encotlracin:An Alien To ResideIn TheUnited States

    8U.S.C.51324(a)(1)(A)(iv).(v)(Il).and (B)(i)
  *M ax.Penalty:        10 years'implisonment




   WR efers only to possible term ofinc>rceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
